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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
 JUAN CARLOS ALONSO HIDALGO and                  :
 FLORENTINO ALONSO HIDALGO,                      : CIVIL ACTION NO.: 2:20-cv-06393-RBS
 Individually, as co-Executors and Personal      :
 Representatives of the Estate of Martha         :
 Erika Alonso Hidalgo,                           :
                                                 :
 MA. GUADALUPE NANCY CANALES                     :
 ELIZALDE, Individually, as Executor and         :
 as Personal Representative of the Estate of     :
 Marco Antonio Tavera Romero,                    :
                                                 :
 LOURDES FRANCISCA MENDOZA                       :
 HERNANDEZ, Individually and as                  :
 Executor and as Personal Representative of      :
 the Estate of Hector Baltazar Mendoza,          :
                                                 :
        v.                                       :
                                                 :
 AGUSTAWESTLAND PHILDELPHIA                      :
 CORPORATION                                     :
                                                 :
        and                                      :
                                                 :
 LEONARDO S.p.A.                                 :
                                                 :

                                               ORDER

                      9th
       AND NOW this ________          July
                             day of ___________, 2021, Plaintiff’s Suggestion of Death of

the named Plaintiff Martha Julia Hidalgo Villafane is noted of record pursuant to Federal Rule of

Civil Procedure 25(a)(2) and the Uncontested Motion to Substitute Parties filed pursuant to Federal

Rule of Civil Procedure 25(a)(1) is GRANTED.

       Juan Carlos Alonso Hidalgo and Florentino Alonso Hidalgo, as the co-executors and

personal representatives of the Estate of Martha Erika Alonso Hidalgo, shall be substituted as

named plaintiffs in this matter.




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       It is further ORDERED that the caption of this matter shall be updated to reflect this

substitution in the form shown in this Order.



                                                      /s/ R. Barclay Surrick
                                                    ______________________________
                                                    R. Barclay Surrick
                                                    United States District Court Judge




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